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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
EASTERN DIVISION

 

 

 

 

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¢ SYNKLOUD TECHNOLOGIES, LLC,
aa CF
Jo A, Plaintiff, Civil Action No. 1:20-cv-10564
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=o 'g & JURY TRIAL DEMANDED
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Ss. NUANCE COMMUNICATIONS, INC.,
x. ~~
26 2 Defendant.
eX U
lw Shy PLAINTIFF SYNKLOUD TECHNOLOGIES, LLC’S
y re — PARTIAL OPPOSITION TO DEFENDANT
x s. > NUANCE COMMUNICATIONS, INC.’S MOTION FOR ADMISSION PRO HAC VICE
~ \ ~
g 7 5 Plaintiff and Counter-Defendant SynKloud Technologies, LLC (“SynKloud” or
Q rs “Plaintiff’), by its counsel, hereby submits its partial Opposition to Defendant and
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‘S U a Counterclaimant Nuance Communications, Inc.’s (“Nuance” or “Defendant”) Motion for
a] Ss
R oS Admission Pro Hac Vice (ECF No. 81) (“Defendant’s Motion” or the “Motion”). Nuance failed
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My ~ = to confer its Motion as required under Local Rule 7.1(a)(2) prior to filing, thus SynKloud was
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‘ 3 G unable to raise these concerns prior to the improper filing of the Motion. SynKloud’s opposition
~I13y
3 x ¥ is narrowly limited to allowing Mr. Greenbaum to serve as trial counsel because Mr. Greenbaum
HS
cs has already provided testimony on topics such as Nuance’s pre-litigation knowledge of the
wv Asserted Patent.
ES
% iF Argument
hg
Ss Under District of Massachusetts Local Rule 7.1(a)(2), “[nJo motion shall be filed unless

counsel certify that they have conferred and have attempted in good faith to resolve or narrow the
